
MEMORANDUM **
Respondent’s motion for summary disposition is granted because the questions raised by this petition for review are so insubstantial as not to require further argument because petitioner did not prove she had been in the United States continuously for 10 years as required under 8 U.S.C. § 1229b(b) for cancellation of removal. See United States v. Hooton, 693 F.2d 857, 858 (9th Cir.1982) (per curiam) (stating standard); see also Jimenez-Angeles v. Ashcroft, 291 F.3d 594, 599 (9th Cir.2002). Accordingly, this petition for review is denied.
All other pending motions are denied as moot. The temporary stay of removal and voluntary departure confirmed by Ninth Circuit General Order 6.4(c) and Desta v. Ashcroft, 365 F.3d 741 (9th Cir.2004), shall continue in effect until issuance of the mandate.
PETITION FOR REVIEW DENIED.

 This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir. R. 36-3.

